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Exhibit 14
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[Notices

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From the Federal Register Online via GPO Access [wais.access.gpo.gov]
(DOCID: fr07se05-79] ,

DEPARTMENT OF HOMELAND SECURITY
Federal Emergency Management Agency

[FEMA-3212-EM]

Louisiana; Emergency and Related Determinations

AGENCY: Federal Emergency Management Agency, Emergency Preparedness and
Response Directorate, Department of Homeland Security.

ACTION: Notice.

SUMMARY: This is a notice of the Presidential declaration of an
emergency for the State of Louisiana (FEMA-3212-EM), dated August 27,
2005, and related determinations.

EFFECTIVE DATE: August 27, 2005.

FOR FURTHER INFORMATION CONTACT: Magda Ruiz, Recovery Division, Federal
Emergency Management Agency, Washington, DC 20472, (202) 646-2705.

SUPPLEMENTARY INFORMATION: Notice is hereby given that, in a letter
dated August 27, 2005, the President declared an emergency declaration
under the authority of the Robert T. Stafford Disaster Relief and
Emergency Assistance Act, 42 U.S.C. 5121-5206 (the Stafford Act), as
follows:

I have determined that the emergency conditions in certain areas
of the State of Louisiana, resulting from Hurricane Katrina
beginning on August 26, 2005, and continuing is of sufficient
severity and magnitude to warrant an emergency declaration under the
Robert T. Stafford Disaster Relief and Emergency Assistance Act, 42
U.S.C. 5121-5206 (Stafford Act).. Therefore, I declare that such an
emergency exists in the State of Louisiana.

You are authorized to provide appropriate assistance -for
required emergency measures, authorized under Title V of the
Stafford Act to save lives, protect public health and safety, and
property or to lessen or avert the threat of a catastrophe in the
designated areas. Specifically, you are authorized to provide debris
removal and emergency protective measures (Categories A and B) under >
the Public Assistance program, including direct Federal assistance,
at 75 percent Federal funding. This assistance excludes regular time
costs for subgrantees' regular employees. In addition, you are
authorized to provide such other forms of assistance under Title V
of the Stafford Act as you may deem appropriate.

In order to provide Federal assistance, you are hereby
authorized to allocate from funds available for these purposes such
amounts as you find necessary for Federal disaster assistance and
administrative expenses.

Further, you are authorized to make changes to this declaration
to the extent allowable under the Stafford Act.

The Federal Emergency Management Agency (FEMA) hereby gives notice
that pursuant to the authority vested in the Under Secretary for
Emergency Preparedness and Response, Department of Homeland Security,
